43 F.3d 1469
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff Appellee,v.Victoria R. MAURER, Defendant Appellant.
    No. 94-7127.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 17, 1994.Decided Dec. 20, 1994.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  T. S. Ellis, III, District Judge.  (CR-92-337)
      Victoria R. Maurer, appellant pro se.  James L. Trump, Office of the United States Attorney, Alexandria, VA, for appellee.
      E.D.Va.
      AFFIRMED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying her motion for a reduction of her sentence.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Maurer, No. CR-92-337 (E.D. Va.  Mar. 20, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    